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                                                                       Thursday, 18 April, 2019 03:07:33 PM
                                                                              Clerk, U.S. District Court, ILCD

                           UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS


LARRY PIPPION, as Representative of
                                 )
the Estate of Larry Earvin,      )
                                 )
            Plaintiff,           )
                                 )
      -vs-                       )                   No. 19-3010-SEM
                                 )
SGT. WILLIE HEDDEN, LT. BENJAMIN )
BURNETT, LT. BLAKE HAUBRICH,     )
C/O ALEX BANTA, WARDEN           )
CAMERON WATSON, ASST. WARDEN )
STEVE SNYDER, Individually,      )
                                 )
            Defendants.          )


         DEFENDANTS’ AMENDED ANSWER AND AFFIRMATIVE DEFENSES

        Now Come defendants, Cameron Watson and Steve Snyder, by and through their

attorney, Kwame Raoul, Attorney General of the State of Illinois, and for their Answer and

Affirmative Defenses to plaintiff’s complaint [Doc. 1], state as follows:




        ANSWER: Defendants admit plaintiff has described the nature of this action, but deny he

is entitled to any relief in this matter.
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       ANSWER: Defendants admit Larry Earvin was formerly housed at Western Illinois

Correctional Center but lack sufficient knowledge to admit or deny the remaining allegations

contained in this paragraph.




       ANSWER: Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.




       ANSWER: Defendants admit Hedden, Burnett, Haubrich and Banta were employed as

security staff at Western Illinois Correctional Center. Defendants lack sufficient knowledge to

admit or deny the remaining allegations contained in this paragraph.
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       ANSWER: Defendants deny this paragraph contains a complete and accurate statement

of defendant Watson’s duties, but admit the remaining allegations contained in this paragraph.




       ANSWER: Defendants deny this paragraph contains a complete and accurate statement

of defendant Snyder’s duties, but admit the remaining allegations contained in this paragraph.




       ANSWER: Defendants deny the Court has jurisdiction over plaintiff’s claims based on

state law. Defendants admit jurisdiction is otherwise proper.
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       ANSWER: Defendants admit the allegations contained in this paragraph.




       ANSWER: Defendants admit Mr. Earvin was incarcerated at Western Illinois

Correctional Center in Mount Sterling, Illinois on May 17, 2018. Defendants lack sufficient

knowledge to admit or deny the remaining allegations contained in this paragraph.




       ANSWER: Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.




       ANSWER: Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.
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       ANSWER: Defendants admit Mr. Earvin was injured and required medical attention and

that he was airlifted to a regional hospital. Defendants lack sufficient knowledge to admit or

deny the remaining allegations contained in this paragraph.




       ANSWER: Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.




       ANSWER: Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.




       ANSWER: Defendants admit Mr. Earvin died on or about June 26, 2018, but lack

sufficient knowledge to admit the cause of death.




       ANSWER: Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.
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       ANSWER: Defendants admit the defendant officers have been placed on administrative

leave, but lack sufficient knowledge to admit or deny the remaining allegations contained in this

paragraph.




       ANSWER: Defendants deny the allegations contained in this paragraph.




       ANSWER: Defendants admit IDOC policy requires officers who use force to submit

incident reports. Defendants admit they review some incident reports and grievances related to

use of force, but deny they see all such documents.
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       ANSWER: Defendants deny the allegations contained in this paragraph.




       ANSWER: Defendants incorporate their responses to all prior paragraphs.




       ANSWER: Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.




       ANSWER: Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.




       ANSWER: Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.
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        ANSWER: Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.




        ANSWER: Defendants lack sufficient knowledge to admit or deny whether plaintiff is

entitled to the requested relief.




        ANSWER: Defendants incorporate their responses to all prior paragraphs.




        ANSWER: Defendants deny the allegations contained in this paragraph.
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ANSWER: Defendants deny the allegations contained in this paragraph.




ANSWER: Defendants deny the allegations contained in this paragraph.




ANSWER: Defendants deny the allegations contained in this paragraph.




ANSWER: Defendants deny the allegations contained in this paragraph.
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        ANSWER: Defendants deny the allegations contained in this paragraph.




        ANSWER: Defendants deny this paragraph contains a complete and accurate statement

of their duties.




        ANSWER: Defendants deny the allegations contained in this paragraph.




        ANSWER: Defendants lack sufficient knowledge to admit or deny the cause of Mr.

Earvin’s injuries, but deny the remaining allegations contained in this paragraph.
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ANSWER: Defendants deny plaintiff is entitled to any relief under this count.




ANSWER: Defendants incorporate their responses to all prior paragraphs.




ANSWER: Defendants deny the allegations contained in this paragraph.




ANSWER: Defendants deny the allegations contained in this paragraph.
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       ANSWER: Defendants deny the allegations contained in this paragraph.




       ANSWER: Defendants deny the allegations contained in this paragraph.




       ANSWER: Defendants lack sufficient knowledge to admit or deny the cause of Mr.

Earvin’s injuries, but deny the remaining allegations contained in this paragraph.




       ANSWER: Defendants deny plaintiff is entitled to any relief under this count.




       ANSWER: Defendants incorporate their responses to all prior paragraphs.
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       ANSWER: Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.




       ANSWER: Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.




       ANSWER: Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.




       ANSWER: Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.
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        ANSWER: Defendants lack sufficient knowledge to admit or deny whether plaintiff is

entitled to the requested relief.




        ANSWER: Defendants incorporate their responses to all prior paragraphs.




        ANSWER: Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.




        ANSWER: Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.
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        ANSWER: Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.




        ANSWER: Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.




        ANSWER: Defendants lack sufficient knowledge to admit or deny whether plaintiff is

entitled to the requested relief.




        ANSWER: Defendants incorporate their responses to all prior paragraphs.
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       ANSWER: Defendants deny the allegations contained in this paragraph.




       ANSWER: Defendants deny the allegations contained in this paragraph.




       ANSWER: Defendants deny the allegations contained in this paragraph.




       ANSWER: Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.
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       ANSWER: Defendants deny plaintiff is entitled to any relief in this matter.




       ANSWER: Defendants incorporate their responses to all prior paragraphs.




       ANSWER: Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.




       ANSWER: Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.
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        ANSWER: Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.




        ANSWER: Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.




        ANSWER: Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.




        ANSWER: Defendants lack sufficient knowledge to admit or deny whether plaintiff is

entitled to the requested relief.
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       ANSWER: Defendants incorporate their responses to all prior paragraphs.




       ANSWER: Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.




       ANSWER: Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.




       ANSWER: Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.
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        ANSWER: Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.




        ANSWER: Defendants lack sufficient knowledge to admit or deny whether plaintiff is

entitled to the requested relief.




        ANSWER: Defendants also demand a trial by jury.

                                        JURY DEMAND

        Defendants demand a trial by jury in this matter.

                                    AFFIRMATIVE DEFENSES

        A. Sovereign Immunity
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         Plaintiff’s claims for monetary damages against defendants in their official capacities are

precluded by the Eleventh Amendment, which bars an action for damages in federal court against

a State or a State official sued in his official capacity. Plaintiff’s claims under state law are barred

by sovereign immunity and the State Lawsuit Immunity Act.

         B. Qualified Immunity

         At all times relevant herein, defendants acted in good faith in the performance of their

official duties and without violating Mr. Earvin’s clearly established statutory or constitutional

rights of which a reasonable person would have known. Defendants are, therefore, protected from

suit by the doctrine of qualified immunity.

         WHEREFORE, for the above and foregoing reasons, defendants respectfully request this

Honorable Court deny plaintiff any relief in this matter whatsoever and enter judgment in their

favor.

                                                Respectfully submitted,

                                                CAMERON WATSON and STEVE SNYDER,

                                                        Defendants,

                                                KWAME RAOUL, Attorney General,
                                                State of Illinois,

                                                        Attorney for Defendants,


                                                By s/ Christopher L. Higgerson
                                                      Christopher L. Higgerson
                                                      Assistant Attorney General
                                                      500 South Second Street
                                                      Springfield, IL 62701
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                                                       & gls@atg.state.il.us
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                                       No. 19-3010-SEM


                                CERTIFICATE OF SERVICE

       I hereby certify that on April 18, 2019, the foregoing document, Defendants’ Amended
Answer and Affirmative Defenses, was electronically filed with the Clerk of the Court using the
CM/ECF system, which will send notification of such filing to the following:


                      Michael Oppenheimer michael@eolawus.com

and I certify that on said date, a copy of the document was mailed by U.S. Mail, in an envelope
properly addressed and fully prepaid, to the following:

Willie Hedden
415 Camden Road
Mt. Sterling, IL 62353




                                             Respectfully submitted,



                                              s/ Christopher L. Higgerson
                                             Christopher L. Higgerson
                                             Assistant Attorney General
                                             500 South Second Street
                                             Springfield, IL 62701
                                             Telephone: (217) 782-1841
                                             Facsimile: (217) 782-8767
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